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                               UNITED STATES DISTRICT COURT
                                         FOR THE
                                     DISTRICT OF COLUMBIA

U.S.A. vs. Joseph D. Hutchinson                                             Docket No: CR21-000447-02

                    The Court may enter a minute order for any of the following options:

Warrant Request Only- To help ensure the safety of law enforcement officers while a warrant is active, we
ask that you not enter a minute order. Rather, please print and sign this document and, and if you concur
with the request for a warrant, provide all pages to your Court Room Deputy Clerk who will enter a sealed
minute order and process the warrant for service without alerting the public or the offender. After the
warrant is executed, the Deputy Clerk will unseal the warrant unless otherwise directed by the Court.


THE COURT ORDERS:

    1. X
       □   Concurs with the recommendation of the Pretrial Services Agency to issue a warrant, enter into

           NCIC, and schedule a hearing on violation once the warrant is executed.

    2. □   Issuance of a summons and schedule a hearing

    3. □   No action

    4. □   Other:




                                       The Honorable Carl Nichols
                                       United States District Court


                                 February 28, 2023
                                                Date
